
USCA1 Opinion

	













        October 11, 1996        [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT



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        No. 95-2362

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                 STEVEN J. NOWACZYK,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                    [Hon. Paul J. Barbadoro, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Selya and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            Steven J. Nowaczyk on brief pro se.
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            Paul M. Gagnon, United States Attorney,  and Peter E. Papps, First
            ______________                               ______________
        Assistant  U.S.  Attorney,  on  Motion  for  Summary  Disposition  for
        appellee.


                                 ____________________


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                 Per  Curiam.   After  careful review  of the  record and
                 ___________

            briefs,  we  conclude  that  this case  clearly  presents  no

            substantial issue for review.  

                 We  find  no  error  or  abuse  of  discretion  in   the

            revocation of defendant's supervised release.  The government

            presented adequate evidence of defendant's state convictions,

            and  defendant did not make  any response suggesting that the

            convictions were insufficient  evidence of  his violation  of

            supervised release.    In those  circumstances, the  district

            court  cannot  be faulted  for basing  the revocation  on the

            convictions.  See generally United States v. Czajak, 909 F.2d
                          _____________ _____________    ______

            20, 22 (1st Cir. 1990) (record need only demonstrate that the

            district  court did  not abuse  its discretion  in concluding

            that  the   evidence  "reasonably  satisfied"  it   that  the

            defendant had in fact violated the law).

                 The  district court  also properly  rejected defendant's

            subsequent motion for arrest of judgment, as defendant failed

            to show  that the district court "was without jurisdiction of

            the offense charged."  Fed. R. Crim. P. 34.

                 We  are  not  persuaded  by any  of  defendant's  myriad

            arguments about the arrest  warrant and supporting affidavit;

            detainers;  timely  hearing; timely  appointment  of counsel;

            ineffective assistance  of counsel;  effect of state  bail on

            his  state   and  federal  sentencing;   advisement  for  his

            underlying sentence; and credit for pre-sentence time served.



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            The district court correctly  disposed of those arguments, to

            the extent  that they were raised below.  And they present no

            grounds for  overturning the revocation or  sentence, even on

            plain error review.  See United States v. Chaklader, 987 F.2d
                                 ___ _____________    _________

            75,  76 (1st  Cir. 1993)  (absent plain  error, an  issue not

            presented  to the  district  court cannot  be raised  for the

            first time on appeal). 

                 Affirmed.  See 1st Cir. Loc. R. 27.1.
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